      Case 1:25-cv-00613-MLB                   Document 17-3             Filed 03/25/25           Page 1 of 3




l                   18 USC§§ 207l(lll, (b) judicial pleading
                         (17-8) (Part 17-8) (03.18.25)
                        Case No. 1:25-cv-00613-MLB
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                           - ATLANTA DIVISION


      lo re:
      GROUP MANAG EMENT CORP. (Debtor),

      03-93031 (BC NDGA), Chapter l J
                                                                                        11--B(CL) Ifs
                                                   On appeal In:
     ULYSSES T. WARE and d/b/a GROUP MANAGEMENT, (a sole proprietorship),
     AppeJJants,
     v.
     ALPHA CAPITAL, AG, et at., Hobbs Act Predatory Unregistered Broker-Dealers, 1
     Appellees.


     (Docket TextJ March 18., 2025, (17-8) (Part 17-8) APPELLANTS' 28 USC §
     1654 SUPPLEMENTAL LETIER-BRIEF (#4) IN SUPPORT OF (17-l)
     MARCH 10, 2025, APPLICATION FOR ARTICLE III "THRESHOLD"
     JURISDICTIONAL SHO\V CAUSE ORDER AND OTHER RELIEFS.

     Respectfully su~cd,

    ~~'Y.'wa~
     Ulysses T. 28 USC§ '1654 Attorney-in-fact for Appellants, Group
                  Wate.                                                                Management (a sole
     proprietorship) and Ulysses T. Ware


     1 See 25cv00613 (NDOA) 0kt 5-13 o.n pagcs43-53.



     Page1 of 11
     T.u e~ay, March 18, 2025
     (17-8) (Part 17~8) re Appellants' renewed Application for an Article Ill Jurisdictional Appellate Status
     Conferen~e and Other Reliefs.




                                                                                                          Ci} CamScanner
      Case 1:25-cv-00613-MLB   Document 17-3   Filed 03/25/25   Page 2 of 3




Fov J :( :_:, (A-J d()(,td::, ,c 11 '.
       2S cv 0(),,.3 ( No,/t J ·                                              --




                                                                               Cam Scanner
                                     Case 1:25-cv-00613-MLB   Document 17-3    Filed 03/25/25   Page 3 of 3


                                                                                                              ~
                                                                                                              ~
                                                                                                              u
                                                                                                              C/)

                                                                                                              §
                                                                                                              u
                                                                                                              B
    Office of Ulysses T. Ware
    123 Linden Blvd, Ste 9-L
    Brooklyn, NV 11226


    Re:: 03. 18.25 Appellants' Supp.Memo of Law (17--8)
    25cv00613 (NOGA).
    Re-q. for Show cause order.
    appellate sta.t us c.onf., and
    stay of briefing schedule

                                                          Office of the District Clerk
                                                          U.S. District Court (NOGA)
                                                          Richard B. Russell U~S. Courthouse
                                                          75 Ted Turner Drive, SW
                                                          Atla.nta, ~A 30303




I
